Case 2:10-md-02179-CJB-DPC Document 4035-13 Filed 09/15/11 Page 1 of9

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TO: Vessels of Opportunity

BP Vessels of Opportunity Vesset Name: YY \— 4 Aynav i TE
cfo Oenns & CurcieSrefing LEC” “Vessel License #: HDs OS

PO Box 1460 ePcontrec? BOUL.
Larose, LA FOS73

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Beginning Date:

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DESCRIPTION QUARTINY DAYS RATE AMOUNT
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Emad invetces to: voudanos.com

Fas invoices to: 985-693-4558

Mad invelees to: Dangs & Curgle Staffing, 13083 Hwy 308, Larose, LA 70573

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For:
Vessels of Opportunity

vessel Name: YF 14 Anael th

BP Vessels of Opportunity
cfo Ganas & Curole Staffing, LEC “Vessel License ft: Low Cl YF
FS Box 2460 ft? Contract # SAO if (oe
tarore, LA FOS73
FE PERIOD WORKED - (Gannot he a fisture data} i
Begining Date: _— tL.
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Ending Date: 0 -—T—
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PRESCRIPTION CHANTITTY DAYS RATE ABOUNT
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vessel >45' - 65" nA $2,000 f dary
Vessel 30'- 454 Nia $1,500 f day
Vessel < 30" N/A $3,200 f doy
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Crew Member Rates $200/8hr dey
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fall Itwoloes to: voudtdanos.com

Fax imupites to: 985-593-4658

Mail inveices to: Denoas & Carole Staffing, 13083 Hwy 308, Larose, LA 70273

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FOR:
Vessels of Opportantty

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BP Vessels of Oopartanity
cf Danos & Curnle Staffire, LLC vessel treme: /O LO f 7
PO Box 1460 SP Contract # A ¥O if- b
Larose, LA 70373 .
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HRORK LOCATION -Whare did you work out af je... ¥enice, Mobile, ete
BESCRIPTION OUANTITY BATS RATE AMOUNT
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“Fax invoices ta: 985-693-4698
Mail invoices to: Danas & Curcle Staffing, 13083 Mwy 308, Larose, U4 70273

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BF Vessels of Coportumity _ Vesvel Name: ag Arid. Lx
tfo Banas & Curole Stefing, LC Wessel Ucense tt, / 73 # (9 LT

PO Bax 1460 pronase AF OLS
Larase, LA FOS73

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WORK LOCATION - Where did you work cut of ie_.Venice, Mobile, et

BESCRIPTION QUANTITY DAYS RATE ARGUNT

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vessel DAS" - G5 N/A $2,000 / day
Vessel 30° ~ 43" nA $1,500 / day
Weer! < 30" ha $4,200 f day
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Email voles ta: voo@dands com

Fax invoices to: 935-693-4698

Mail Invoices to: Sancs & Curnte Staffing, 12053 Mwy 308, Larose, 14 70373

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“PGR:
TH Vessels of Opportunity ,
BF Vessels of Opportemity Vessel fame: Y} y Anatl
c/o Denes & Curoie Steling, LLC ‘Vessel License ft romoig?
PO Box 1460) apcommae 8 O41 iO
Larose. LA 70373 !
TURE PERIOD WORKED - (Cannot be 4 firtore date)
Beginning Date: = 7
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Ending Date: A LA fe ae __ J i
WORK LOCATION - here did you work out af: ie.,.Verice, Mobile, at.
ST BY _Bizox: :
DESCRIPTION QUANTITY DAYS RATE AMOUNT
Vessel Services:
24 Water line, 94 ‘total Langit | 4 ae P20
Vessel 245° + 65" Nfa $2,000 f day
Vessel 20° - 251 A $1,500 / dey
Vessel < 30" N/A $1200 j day
intial Fue! Costs:
Crew Member fates Le [Ze szno/anrday Wo ff 2 feP
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Training location: [Fda i ~VISSISS/ PPI
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Crew Members: hhey AN A¥ er $200/shr day
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Soecialized Equipment:
TOTALS y 53 24D

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Email invoines to: voo @dancs.com

Fax invoices to: 325-b99-4698

Mail invoices to: Danas & Curole Staffing, 13083 Hury 508, Larose, LA 70373

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TH Vessels of Opportunity
BP Vessels of Cpparkuntity VessetName: [YT Anoil at
fo Danos & Carole Staffing, £10 “Vessel License a IO (O ik?
PD Box 1460 aPtontmcs — 4 OL iy
Larose. LA 70873 .
TIME PERIOD WORKED - (Cannot be a firture dite} |
Reginning Date: AUG 2 /?
Ending Date: , ALA LE [éE gee {0
ORC LOCATION - Where did you work cut of fe.Venica, Mobile, etc.
S7T_BY__Bilox:
DESCRIPTION QUANTITY DAYS. RATE AMOUNT
Vessel Servicas:
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Vessel 45° - 65" NIA $2,000 f day
Vessel 30” - 45! NYA $1500 f cay
Vescal < 307 aya $2.26 f day
Istial Fuel Costs:
Crew Member Rates Lf / Le S200/Bhe day a if i 2 Dp
Ctéw Member Aztes . S300/12hr day ,
Creo Mernber Training
Training tocation: FS / ox) ISS 155 F PPE
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Crew Members: He i Hor nVert S200/Bhr day
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Speciatized Equipment:
TOTALS 1
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Ematl invoices te: voomdiants.com
Fax invoices to, 985-693-4638
fall invoices to: Denes & Curcle Siaifing, 12083 Hwy 208, Larose, LA 70373

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Company / Owner

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(Person te be peste):
Addiress: [E27 41S. DR
city, State, peat: KiLOX) 5 S945 SA

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Ta:

BP Vessels of Opportunity

Gfo Banos & Curote Staffing, LLC
PO Box 1460

Larose, LA 70374

FOR:
Vessels of Opportunity

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BP Contract #

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DESCRIPTION CHIANTHTY DAYS RATE AMOUNT
Vessel Services: .
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Vessdf>as - 55" Nia $2,000 / day
Vessel 30° - 45" nia SL500 f day
Vessel < a0 NA $1,200 / day
intial Fuel Costs:
Crew Member Rates éf- [i $250/Bhr day ii , LOE
Craw Member Rates S300/i2hs dzy f
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Training tocations 2 (ous majSs/S6i PPT
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Specialized Equigmenk f
TOTALS 4, 5 tO
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Emad invnices to: voodtdanns.com
Fax inwoloes to: $85-G93-4692,
Niall inveicas to: Danas & Curoie Staffing, 13083 Hwy 308, tarose, LA 70373

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FOR:
Te Vessels of Cpportrnity
8? Vessels of Oppartanity Vessel Name: rv Y Av Gél. Tr
c/a Danos & Curote Staffing, LLC “Vecsed Licerse ft: il & QO is37
PO Box 1460 ap contrata  “D. So 4
Larose, LA 70373
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DESCRIPTION QUANTITY BAYS RATE AMOUNT
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Vessaf pant » 5" nn $2,000 f day
Vessel 30° - 45" N/A $1500 / day
Vessel < 307 NIA $3,200 f day
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Crew Member Rates - S800/t2hr dey f
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Tratning Class Name] hr 4 Ze
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Specialized Equipment:
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Email invoices te: vooditdsnns.com
Fax invoices to; 985-93-469R
Mail invoices to: Danes & Curole Staffing, 13083 Rwy 308, Larose, LA 70373

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To: Vessels of Opportunity
&P Vessels of Opparrunity _ Vessef Namez KYL triléred TE
céo Banos & Curofe Staffing, LLC -‘vessetticnsets {0 fo O/B 7
PO Box 1480 apcotmce 2 Sf) Le
Larose, LA 70373
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SESCRIPTION QUANTITY DAYS RATE AMOUNT
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Vessel 30° - 45" NiA $1500 f day
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Crew Member Aztes : $300/22hv day |’
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Once competed
Email invaines to. voomidangs.cam
Fax invoices to: 985-693-4695

Mall invaices to: Danes & Curole Staffing, 12083 Hwry 308, Larose, LA 70373

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